Case 2:05-cr-20204-.]DB Document 47 Filed 08/25/05 Page 1 of 2 Page|D 94

 

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uNlTEo sTATEs oF AMERICA CLEP|/S%SGD§,§CJIJLCL{’W

W/D 05 TN. MEMP|'HS
P|aintitf

VS.
CFt. NO. 05-20204-B

WARD CRUTHCF|ELD,

Detendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set tor trial on the September, 2005 criminal rotation calendar.
Counsel for the defendant has requested a continuance of the trial date in order to allow
for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
Report Date ofThursdav. November 3. 2005. at 9:00 am.. in Courtroom 1, 11th F|oor
of the Federa| Bui|ding, Memphis, TN.

The period from September 16, 2005 through November 18, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

lT iS SO ORDERED this §§ §):"day gust, 2005.

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:05-CR-20204 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

